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                           IN THE UNITED STATES DISTRICTCOURT
                            FOR THE DISTRICT OF NEW JERSEY

LUIS DEJESUS TAVERAS, and similarly
situated individuals,

        Plaintiff,
                                                                    COLLECTIVE ACTION
vs.                                                                    COMPLAINT

SWINGSET & TOY WAREHOUSE, INC.,                         Civil Case No.:
and all other affiliated entities and/or joint
employers, JOHN DOE CORPORATIONS,                                    Jury Trial Demanded
and ABEL SANTOS, individually,

        Defendants.




         Named Plaintiff LUIS DEJESUS TAVERAS (“DeJesus” or “Plaintiff”) on behalf of himself

 and all others similarly situated, by and through his attorneys, upon personal knowledge as to

 himself and upon information and belief as to other matters, brings this Collective Action

 Complaint against Defendants SWINGSET & TOY WAREHOUSE, INC., and all other affiliated

 entities and/or joint employers, JOHN DOE CORPORATIONS (“Swingset” or “Corporate

 Defendants”), and ABEL SANTOS, individually, (“Santos”) ( c o l l e c t i v e l y “ D e f e n d a n t s ” )

 and alleges as follows:

                                            INTRODUCTION

      1. Named Plaintiff brings this lawsuit seeking recovery against Defendants for Defendants’

         violation of the Fair Labor Standards Act, as amended (the “FLSA” or the “Act”), 29

         U.S.C. §201 et. seq. and the New Jersey State Wage and Hour Law, N.J.S.A. 34:11-56a

         et seq. (“NJWHL”).

      2. Named Plaintiff brings this lawsuit against Defendants as a collective action on behalf of

         himself and all other persons similarly situated – who suffered damages as a result of


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   Defendants’ violations of the FLSA pursuant to the collective action provisions of 29

   U.S.C. § 216(b).

3. Beginning in approximately 2010, and continuing through October 27, 2019, Defendants

   engaged in a policy and practice of requiring Named Plaintiff and members of the

   putative collective to regularly work in excess of forty (40) hours per week, without

   providing overtime compensation as required by applicable Federal and New Jersey state law.

4. The Named Plaintiff has initiated this action on behalf of himself and similarly situated

   employees to recover overtime compensation that Plaintiff and similarly situated

   employees were deprived of, plus interest, damages, attorneys’ fees, and costs.

                                 JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction over Named Plaintiff’s FLSA claims pursuant

   to 28 U.S.C. § 1331 and by 29 U.S.C. § 216(b).

6. This Court has subject matter jurisdiction over Named Plaintiff’s NJWHL claims pursuant

   to 28 U.S.C. §§ 1332 and 1367.

7. Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2) because a

   substantial part of the events or omissions giving rise to the claims occurred in this

   district.

8. At all times material hereto, Named Plaintiff performed non-exempt m e r c h a n d i s e

   d e l i v e r y a n d i n s t a l l a t i o n duties for the Defendants in New Jersey and based

   from Defendants’ Bergen County, New Jersey, warehouse. Defendants are therefore within

   the jurisdiction and venue of this Court.

9. At all times pertinent to this Complaint, the Defendants were and remain enterprises

   engaged in interstate commerce or in the production of interstate goods for commerce as


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       defined by the Act, 29 U.S.C. §§ 203(r) and 203(s). More specifically, Defendants own,

       operate, and/or manage a wood and outdoor play dealership from three locations in New

       Jersey, selling swingsets, basketball courts, trampolines, and sheds throughout New Jersey,

       the tri-state area and online. Alternatively, Named Plaintiff and those similarly situated

       employees worked in interstate commerce, i.e., i t s em p l oy e es h an dl e go ods o r

       m at e ri al s t h at h av e be en m ov ed o r pr od uc ed i n i nt er st at e co m m e r c e. Thus,

       Named Plaintiff and those similarly situated employees fall within the protections of the

       Act.

                                                    PARTIES

Plaintiff

   10. Named Plaintiff DeJesus is an adult individual who is a resident of Haledon, in Passaic

       County, New Jersey.

   11. Named Plaintiff DeJesus was employed by Defendants full time as a delivery and

       assembly person, performing duties in furtherance of Defendants’ business, specifically,

       working as an installer, delivering and assembling products for Defendants’ consumers,

       from in or about 2010, through in or about October 2019.

   12. Plaintiff DeJesus worked in Defendants’ Upper Saddle River, New Jersey, location.

Corporate Defendants

   13. Swingset is a New Jersey corporation, with their corporate office located at one of their three

       warehouse showrooms, at 11 Route 31, Bldg. B, Flemington, New Jersey, 08822.

   14. Upon information and belief, and at all t imes relevant to this Complaint, the Defendants

       employ individuals to perform labor services on behalf of the Defendants.




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Individual Defendant

   15. Upon information and belief, Individual Defendant Abel Santos is a New Jersey state

      resident.

   16. Upon information and belief, at all times relevant to this Complaint, individual Defendant

      Abel Santos has been an owner, partner, officer and/or manager of the Defendant Swingset.

   17. Upon information and belief, at all times relevant to this Complaint, individual Defendant

      Abel Santos has had power over personnel decisions at the Defendant Swingset’s business.

   18. Defendant Abel Santos was regularly present at Swingset, and managed the day to day

      operations, controlled the employees, pay practices and had the power to change same, as

      well as the power to hire and fire employees, set their wages, and otherwise control the terms

      of their employment.

   19. Upon information and belief, at all times relevant to this Complaint, the Defendants’ annual

      gross volume of sales made or business done was not less than $500,000.00.

   20. At all times relevant to this Complaint, the Defendants were and are employers engaged in

      commerce under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

                                COLLECTIVE ALLEGATIONS

   21. This action is properly maintainable as a collective action pursuant to the Fair Labor

      Standards Act, 29 U.S.C. § 216(b).

   22. This action is brought on behalf of Named Plaintiff and a putative collective consisting

      of similarly situated employees who performed work for Defendants.

   23. The Named Plaintiff and potential plaintiffs who elect to opt-in as part of the collective

      action are all victims of the Defendants’ common policy and/or plan to violate the FLSA




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   and NJWHL by failing to provide overtime wages, at the rate of one and one half times

   the regular rate of pay, for all time worked in excess of 40 hours in any given week

   pursuant to 29 U.S.C. § 207.

24. Upon information and belief, Defendants uniformly apply the same employment policies,

   practices, and procedures to all installers who work at the Defendants’ three New Jersey

   locations.

25. The Named Plaintiff and his counsel will fairly and adequately protect the interests of the

   putative class. The Named Plaintiff has retained counsel experienced in complex wage and

   hour class and collective action litigation.

26. This action is properly maintainable as a collective action pursuant to § 216(b) of the Act.

                                                  FACTS

27. Based upon the information preliminarily available, and subject to discovery, beginning

   in approximately 2010, and continuing to the present, Defendants employed the Named

   Plaintiff and members of the putative class to perform tasks in furtherance of their toy

   and swingset sales business.

28. Based upon the information preliminarily available, and subject to discovery,

   Defendants did not properly compensate Named Plaintiff and similarly situated employees,

   for overtime hours worked in a work week.

29. The majority of Named Plaintiff’s time at work, included, but was not limited to, loading

   deliveries and installing them at various consumers’ locations each day.

30. Named Plaintiff DeJesus was generally paid a salary of $900.00 per week, however, this

   amount varied occasionally, regardless of the number of hours he worked per workweek.




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31. Named Plaintiff DeJesus routinely worked six (6) days per week.

32. Named Plaintiff regularly worked from 8 a.m. until 7:30 p.m. daily, or approximately sixty-

   nine (69) hours per work week.

33. Named Plaintiff was not paid time and one half for his hours over forty (40) in a workweek.

34. Rather named Plaintiff was only paid for a maximum of forty (40) hours per work week.

35. Upon information and belief, employees similarly situated to Named Plaintiff were not

   compensated for hours over forty (40) hours per week, at the statutory overtime rate of pay,

   regardless of the number of hours that they worked each and every workweek.


36. Defendants have engaged in a widespread pattern, policy, and practice of violating the FLSA

   and NJWHL, as described in this Complaint.


37. At all times material hereto, Named Plaintiff and all similarly situated employees were

   performing their duties for the benefit of and on behalf of Defendants.


38. At all times pertinent to this complaint, Defendants failed to comply with Title 29 U.S.C. §§

   201-209, as well as applicable provisions of the NJWHL, in that Named Plaintiff and those

   similarly situated employees performed services and labor for Defendants for which

   Defendants made no provision to pay Named Plaintiff and other similarly situated

   employees compensation to which they were lawfully entitled at the overtime wage rate,

   for all of the hours worked in excess of forty(40) within a work week.

                           COUNT I
            RECOVERY OF OVERTIME COMPENSATION
                   PURSUANT TO THE FLSA

39. Named Plaintiff re-alleges, and incorporates here by reference, all allegations contained

   above.



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40. Named Plaintiff is entitled to compensation for each of his overtime hours worked each work

   week.


41. All similarly situated employees of the Defendants are similarly owed their overtime rate for

   each and every overtime hour they worked and were not properly paid.


42. Defendants knowingly and willfully failed to pay Named Plaintiff and other similarly situated

   employees at time and one half of their regular rate of pay for their overtime hours worked.


43. By reason of the said intentional, willful, and unlawful acts of Defendants, Named Plaintiff

   and those similarly situated employees have suffered damages plus incurring costs and

   reasonable attorneys’ fees.


44. Because Defendants’ violations of the FLSA have been willful, a three-year statute of

   limitations applies, pursuant to 29 U.S.C. § 255.


45. As a result of Defendants’ willful violations of the Act, Named Plaintiff and those similarly

   situated employees are entitled to liquidated damages.

                                COUNT II
                   RECOVERY OF OVERTIME COMPENSATION
                         PURSUANT TO THE NJWHL

46. Named Plaintiff re-alleges, and incorporates here by reference, all allegations contained in

   Paragraphs above.


47. In violation of New Jersey Statutes §§ 34:11-56a4 et seq., the Defendants willfully failed to

   pay the Named Plaintiff and other members of the putative class their statutorily

   required overtime compensation for the time they worked in excess of forty (40) hours a

   week for the Defendants.




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     48. Defendants’ aforementioned conduct is in violation of the NJWHL.


     49. As a direct and proximate cause of Defendants’ actions, Named Plaintiff and those similarly

         situated employees suffered damages, including but not limited to past lost earnings.

                                                JURY TRIAL

     50. Named Plaintiff and similarly situated employees demand a jury trial.


       WHEREFORE, Named Plaintiff, individually and on behalf of all other similarly situated

persons, seek the following relief:

       (1) on their first cause of action, against Defendants in an amount to be determined at trial,

plus liquidated damages as permitted under the FLSA in the amount equal to the amount of unpaid

wages, interest, attorneys’ fees and costs;

       (2) on their second cause of action, in an amount to be determined at trial, plus interest,

attorneys’ fees and costs; and

       (3) such other injunctive and equitable relief as this Court shall deem just and proper.



       Dated: November 13, 2018               Respectfully submitted,

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